Case 1:18-CV-OO443-CCC-KA.]-.]BS Document 143 Filed 04/17/18 Page 1 of 2

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lN THE UN|TED STATES DlSTR|CT COURT
FOR THE MlDDLE DlSTR|CT OF

 

PENNSYLVAN!A
JACOB CORMAN et a|. ) No,_- 1:18_CV_00443
P|aintiffs, ) Fl L E D
"- ) HARRi`sBuRG, PA
ROBERT TORRES et al. )
Defendants ) APR l@/?%
V- ) PER ‘
JEFFREY CUTLER ) DEPUTY CLERK
|ntervenor Plaintiff )
v. ) ORAL ARGUMENTS REQUESTED
cARMEN FEBo sAN MlGUEL, et al. )
§§?£§§';ZZ$ )
)

NOTICE OF APPEAL and MOT|ON TO CONSOL|DATE RELATED
APPEALS CORRECT|ON

Notice is hereby given ]effrey Cutler, Plairitiff lntervenor in this matter hereby appeals to the
United States Court of Appeals for the Third Circuit of Pennsylvania the Order from the
United States Middle District of Pennsylvania dated April 10, 2018 denying Plaintiff
Intervenor's Motion for Reconsideration and Motion to lntervene as Plaintiff of April 3, 2013.,
and the motion denying Plainti_ff’s motion of March 19, 2018. On October 27, 2017 in the
United States M.iddle District of Pennsylvania a Motion for Reconsideration Was filed in case
1:17-cv-01740 and granted on November 6, 2017 . The current order violates Mr. Cutler’s rights
under the Fifth Amendment of the Constitution Based on Elouise Pepion Corbel et al. v. Gale
v. Norton, et al. (03-5262, 03~5314) Mr. cutler requests this appeal be consolidated With case 17-
2709 currently in deliberations and on an expedited basis since they both involve related issues
of ]udges blatantly issuing orders With remedies that violate and circumvent the constitution of

Pennsylvania based on Perjured information to hurt and injure persons It should also be

1218-cv-00443_REV_1 Page 1 of 37

Case 1:18-CV-OO443-CCC-KA.]-.]BS Document 143 Filed 04/17/18 Page 2 of 2
noted that Censorship by the government (lncluding the Order of April 10, 2018), and media

(Google, Pacebool<, and others) acting as agents for the government and deep state obstruct the
ability to be treated fairly and violate the civil rights based on religion and race of not only Mr.
Cutler but others including the individuals known as ”Diamond and Sill<”, Nasim Aghdam

and others. The use of false and e 'ured statements b a ents of the overnment threatens

 

the reli '0us libe of not 0111 Mr. Cutler but also others of similar beliefs ]jl<e Michael

 

Cohen, the United States Constitution Amendrnent 1 and iust because it is not reported at a

Starbucks in Philadelphia, does not mean it did not happen

 

Respecttully submitted:

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By: " / W

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Yorl<, A 17405-2806

(215) 872-5715

Date: 17APR]_L2018

1218-cv-00443_REV_1 Page 2 of 37

